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 9
                           UNITED STATES DISTRICT COURT
10                             DISTRICT OF ARIZONA
11   United States of America,
                                                      Case No.
12                       Plaintiff,
                                                      VERIFIED COMPLAINT FOR
13                v.                                    FORFEITURE IN REM

14   Barrett Firearms MFG CO 82A1,
     Rifle CAL:50 BMG, Serial Number
15   AA013938,
16                       Defendant in Rem.
17
18         Plaintiff United States of America brings this complaint and alleges as follows in
19   accordance with Rule G(2) of the Federal Rules of Civil Procedure, Supplemental Rules
20   for Admiralty or Maritime Claims and Asset Forfeiture Actions:
21                                    BASIS FOR FORFEITURE
22          1.    This is a civil action in rem, brought to enforce the provisions of 18 U.S.C.
23   § 924(d) for the forfeiture of a firearm involved in a violation of 18 U.S.C. §§ 922(a)(6)
24   and 924(a)(1)(A).
25                               JURISDICTION AND VENUE
26          2.    This Court has jurisdiction because the United States commenced this
27   action and because it seeks forfeiture. 28 U.S.C. §§ 1345, 1355(a). Venue is proper in
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 1   this District because acts or omissions giving rise to forfeiture occurred in this District.
 2   28 U.S.C. § 1355(b)(1)(A).
 3                                    DEFENDANT IN REM
 4          3.     The Defendant in Rem consists of a Barrett Firearms MFG CO 82A1 Rifle
 5   CAL:50 BMG, Serial Number AA013938 (the “Barrett”).
 6          4. The Barret was both seized and is currently in custody in Phoenix, Arizona.
 7                                       BACKGROUND
 8          5.     On April 7, 2022, the Bureau of Alcohol, Tobacco, Firearms and
 9   Explosives (ATF) Special Agents (SA) were notified of suspicious activity by an out-of-
10   state Federal Firearms License (FFL).
11          6.     During the pendency of that investigation, the ATF SA Matias Santome
12   learned that, on April 7, 2022, an individual by the name of Enrique Gonzales-Quintero
13   (GONZALES-Quintero) placed on online order for a Barrett .50 caliber rifle for
14   $8,799.99 from D&L Hunting and Outdoor Lodge, a Federal Firearms Licensee (FFL) in
15   Rhode Island. The transaction was conducted online via the website gunbroker.com.
16          7.     With $75 for shipping and $862.40 in taxes and fees, the total purchase
17   price was $9,737.39.
18          8.     Because GONZALES does not reside in Rhode Island, after receiving
19   payment, D&L Hunting and Outdoor Lodge shipped the firearm to West Valley Pawn &
20   Gold, an Arizona FFL, in order to complete the transaction in Arizona.
21          9.     ATF SA Santome contacted West Valley Pawn & Gold and learned that
22   GONZALES-Quintero was scheduled to pick up the Barrett on April 14, 2022.
23          10.    SA Santome reviewed GONZALES’s criminal history record and found
24   that on August 3, 2016, GONZALES-Quintero pled guilty to Possession of Narcotic
25   Drugs for Sale, a class two felony, in violation of A.R.S. §13-3408, 3401, 701, 702, 801
26   and 13-811 committed on or about May 29, 1996, in Arizona Superior Court, Maricopa
27   County case number CR2006-010842-001. GONZALES-Quintero was represented by
28   counsel.

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 1          11.    GONZALES-Quintero’s signature and initials appear on the plea
 2   agreement, dated August 3, 2016, affirming he pled guilty to a class two felony carrying
 3   a sentencing range of four to ten years’ imprisonment, with a presumptive sentence of
 4   five years, and avowing that he read and understood the agreement and discussed it, and
 5   the nature of the charges, with his attorney.
 6          12.    At the change of plea hearing on August 3, 2016, the court reviewed the
 7   plea agreement with GONZALES-Quintero and advised him of the range of possible
 8   sentences, availability of probation and any special conditions.
 9          13.    Additionally, a review of the records revealed that during GONZALES-
10   Quintero’s arrest, he provided the false name, Richard M. Chavez. During the pendency
11   of this case, he avowed to the Court that Enrique GONZALES-Quintero is in fact his
12   true name.
13          14.    On August 17, 2016, GONZALES-Quintero was sentenced to 2 years’
14   probation for the offense.       The court found that Gonzalez-Quintero knowingly,
15   intelligently and voluntarily entered the guilty plea.
16                                   FIREARM PURCHASE
17          15.    Prior to the transfer of a firearm from an FFL, the buyer must complete
18   ATF Form 4473 (Firearms Transaction Record) that the FFL is required to keep.
19          16.    The ATF Form 4473 requires the purchaser to provide information
20   regarding his/her identity, and answer, among others, the following questions: (a)
21   whether he/she is the actual transferee/buyer of the firearms (the form notifies the
22   transferee/buyer that he/she is not the actual transferee/buyer if he/she is acquiring the
23   firearm on behalf of another person); and (b) whether he/she has ever been convicted in
24   any court of a felony or any other crime for which the judge could have imprisoned
25   him/her for more than one year, even if he/she received a shorter sentence including
26   probation.
27          17.    ATF Form 4473 also requires the buyer to certify, among other things, (a)
28   that his/her answers are true, correct and complete; (b) that he/she understands that

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 1   making false statements on the form is a crime; and (c) that he/she understands that if
 2   he/she answers in the affirmative to certain questions, including the question about
 3   having been convicted of a felony stated in paragraph 14(a) above, that he/she is
 4   prohibited from receiving or possessing a firearm.
 5          18.    Using the ATF Form 4473, the FFL enters the information provided by the
 6   buyer into the National Instant Criminal Background Check System (NICS).
 7          19.    GONZALES-Quintero, entered West Valley Pawn & Gold to pick up the
 8   Barrett on April 14, 2022.
 9          20.    While in the store GONZALES-Quintero completed and signed ATF Form
10   4473. On the form, he stated that he was the actual transferee/buyer of the Barrett and
11   that he has never been convicted of a felony or any other crime for which the judge
12   could have imprisoned him for more than one year
13          21.    West Valley Pawn & Gold entered GONZALES-Quintero’s information
14   into NICS to conduct the background check and it came back as “Denied,” prohibiting
15   the transfer of the firearm.
16          22.    As of April 14, 2022, GONZALES-Quintero had not filed any paperwork
17   Requesting to restore his right to possess firearms or set aside this conviction.
18                         CONTACT WITH GONZALES-QUINTERO
19          23.    Knowing that GONZALES-Quintero was supposed to retrieve the Barret,
20   law enforcement set up surveillance in the parking lot of West Valley Pawn & Gold on
21   April 14, 2022.
22          24.    At approximately 5:10pm, law enforcement observed a brown GMC Sierra
23   bearing Arizona license plate number ATZ1765 registered to GONZALES-Quintero in
24   the parking lot area of West Valley Pawn & Gold.
25          25.    At approximately 6:10pm, surveillance personnel observed GONZALES-
26   Quintero exit the store, enter his vehicle, and drive away.
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 1         26.   ATF SAs Santome and Atzmiller learned that GONZALES-Quintero had
 2   been denied the sale of the firearm based on his criminal record during the NICS
 3   background check.
 4         27.   Shortly thereafter, an Arizona Department of Public Safety trooper
 5   observed GONZALES-Quintero make an unsafe lane change and stopped him for this
 6   offense.
 7         28.   ATF SAs Santome and Atzmiller responded to the traffic stop.
 8         29.   After identifying himself as an ATF SA, SA Santome interviewed
 9   GONZALES-Quintero who said, among other things, the following:
10               a) When asked what he was doing at the pawn shop, GONZALES-
11                  Quintero stated he was “trying to buy a big gun just for the hell of it.”
12               b) When asked if he had ever purchased a firearm before, GONZALES-
13                  Quintero stated that he had not.
14               c) When asked what firearm he was trying to buy, GONZALES-Quintero
15                  stated it was a .50 caliber, but provided an incorrect and nonexistent
16                  model.
17               d) GONZALEZ-Quintero stated that he was going to keep the Barrett for
18                  a while and referred to it as an “investment”
19               e) GONZALEZ-Quintero also referred to the Barret as a “toy.”
20               f) GONZALEZ-Quintero stated, referring to the Barret, that “nobody
21                  needs a gun like that if you’re not in the armed forces if you’re not at
22                  war.”
23               g) When asked if he had been arrested before, GONZALES-Quintero
24                  admitted that he had been arrested many years ago and gave the false
25                  name Ricardo/Richard Chavez.
26               h) GONZALES-Quintero recalled turning himself in to law enforcement
27                  many years later.
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 1                  i) When asked if he pled guilty to drug charges, GONZALES-Quintero
 2                     said yes, although he stated that he thought the charge was reduced to a
 3                     misdemeanor due to the length of time that had passed between arrest
 4                     and conviction.
 5                  j) When asked if he was sentenced to probation based on the charges,
 6                     GONZALES-Quintero said yes.
 7            30.   In SA Santome’s training and experience, it is unlikely for a person to
 8   purchase this type of firearm for approximately $9,000 and be unable to identify its
 9   model.
10                               SEIZURE OF THE BARRETT
11            31.   After speaking with GONZALES-Quintero, ATF SAs traveled to West
12   Valley Pawn & Gold and seized the Barrett
13            32.   On May 16, 2022, ATF commenced administrative forfeiture.
14            33.   On June 20, 2022, GONZALES-Quintero filed a claim to the Barrett with
15   ATF.
16                                    CLAIM FOR RELIEF
17            34.   The defendant in rem is subject to forfeiture pursuant to 18 U.S.C. §
18   924(d) as it is a firearm involved in a violation of providing materially false information
19   to a Federal Firearms Licensee in violation of 18 U.S.C. §§ 922(a)(6) and 924(a)(1)(A).
20            WHEREFORE, the United States of America prays that process issue for an
21   arrest warrant in rem of the defendant property; that due notice be given to all parties to
22   appear and show cause why the forfeiture should not be decreed; that judgment be
23   entered declaring the defendant property be forfeited to the United Sates of America for
24   disposition according to law; and that the United States of America be granted such
25   other and further relief as this Court deems just and property, together with the costs and
26   ///
27   ///
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 1   disbursements of this action.
 2          DATED this 16th day of September 2022.
 3
                                           GARY M. RESTAINO
 4                                         United States Attorney
                                           District of Arizona
 5
 6                                         /S/ Jennifer F. Levinson
                                           JENNIFER F. LEVINSON
 7                                         Assistant United States Attorney
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